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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 DANA DUGGAN, individually and on
 behalf of persons similarly situated,

              Plaintiff,                             No. 1:18-cv-12277-JGD
 v.

 MATT MARTORELLO, ET AL.

              Defendants.


                               JOINT STATUS REPORT

       In accordance with this Court’s Order requesting a status report by March 19, 2023

(Dkt. 309), Plaintiff, Dana Duggan, and Defendants, Matt Martorello and Eventide Credit

Acquisitions, LLC (“Eventide”) (Plaintiff and Defendants collectively referred to as “the

Parties”), hereby submit this Joint Status Report.

       In conjunction with litigants in Virginia and Oregon (these plaintiffs, the Parties,

and other third parties to the settlement named in the agreement are collectively

referenced as “the Settlement Parties”), the Settlement Parties have made significant

progress towards resolving the broader litigation and have executed a stipulation and

settlement agreement which, upon the happening of certain contingencies set forth in the

stipulation and settlement agreement, could resolve the underlying litigation.         The

Settlement Parties plan to present the proposed settlement to the U.S. District Court for

the Eastern District of Virginia for preliminary approval on approximately June 3, 2024,

and if approved and proper notice is thereafter given to the class, the final fairness

hearing will take place during approximately the week of October 28, 2024. If the
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Settlement Parties cannot complete the substantive and/or procedural steps for the

settlement, the agreement would be voidable, and the Settlement Parties and litigation

would be returned to where they are now.

       Under the terms of the settlement, the Parties have agreed to stay this litigation,

subject to Court approval, while the Settlement Parties work through the dynamics of the

stipulation and settlement agreement. Given that the case is already stayed because of

Eventide’s bankruptcy, the Parties hereby request that the stay remain in place and that

the Parties provide another status report regarding developments with the settlement on

or before June 20, 2024.

       Dated: March 19, 2024

                                Respectfully submitted,

 Defendants,                                    Plaintiff,
 By their attorneys:                            By her attorneys:

 /s Barney R. Given                             /s/ Michael A. Caddell
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                              CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic File

(NEF) on March 19, 2024.

                                                  /s/ John B. Scofield, Jr.
                                                  John B. Scofield, Jr.




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